CITY BANK FARMERS TRUST COMPANY, AS TRUSTEE OF A TRUST UNDER THE LAST WILL AND TESTAMENT OF ANGIER B. DUKE, DECEASED, FOR THE BENEFIT OF ANTHONY NEWTON DUKE, PETITIONER, v. Commissioner of Internal Revenue, Respondent.  CITY BANK FARMERS TRUST COMPANY, AS TRUSTEE OF A TRUST UNDER THE LAST WILL AND TESTAMENT OF ANGIER B. DUKE, DECEASED, FOR THE BENEFIT OF ANGIER B. DUKE, JR., PETITIONER, v. Commissioner of Internal Revenue, Respondent.City Bank Farmers Trust Co. v. CommissionerDocket Nos. 76031, 76046.United States Board of Tax Appeals39 B.T.A. 29; 1939 BTA LEXIS 1081; January 4, 1939, Promulgated *1081  In 1931 the petitioner, as trustee, pursuant to a court decree entered in connection with an intermediate accounting, paid to itself and charged to corpus the trustee commissions allowed under a state statute for receiving principal and paying it out.  Held, that the trustee was not carrying on a trade or business, and therefore commissions are not deductible as ordinary and necessary business expense.  G. H. Craven, Esq., and Rollin Browne, Esq., for the petitioner.  J. R. Johnston, Esq., and D. Hurd Hudson, Esq., for the respondent.  DISNEY*29  These proceedings were consolidated for hearing and report and involve the redetermination of deficiencies of $2,202.51 and $2,199.01 in income tax for 1931 of the petitioner as trustee of the respective trusts, as to which petitioner contends for overassessments of $7,986.96 and $7,994.56, respectively.  An issue raised in each proceeding respecting a credit taken for foreign taxes has been abandoned.  The *30  parties disposed of another issue by stipulating the amount to be included in the taxable income of each trust for dividends received from a foreign corporation.  The remaining*1082  issue, common to both cases, is whether certain trustee's commissions are deductible from gross income of the trust.  The stipulation of facts filed in the cases is adopted by reference as part of our findings of fact.  FINDINGS OF FACT.  The petitioner, City Bank Farmers Trust Co., as trustee of two trusts under the will of Angier B. Duke, is a New York corporation engaged in the business of a trust company in the State of New York.  It qualified in September 1923 as trustee under the will of Angier B. Duke, deceased, and since then has acted as such.  The will of the decedent created two trusts, one for the benefit of Angier B. Duke, Jr., and the other for the benefit of Anthony Newton Duke.  The petitioner received the property of the trusts in the amount of $3,823,027.79 in each trust in February 1926.  On January 2, 1931, the Surrogate's Court of New York, which had jurisdiction of the trust estates, issued a decree in a proceeding instituted by the petitioner in 1930 for settlement of an intermediate accounting for the period from February 26, 1926, to December 31, 1929, authorizing the petitioner to retain and pay to itself as trustee out of the existing corpus of the*1083  respective trust estates, as commissions to which it was entitled under the provisions of the decedent's will, the sums of $38,641.71 and $38,641.06.  The commissions were computed pursuant to the provisions of section 285 of the Surrogate's Court Act of New York, on the basis of principal received and paid out by the petitioner as trustee.  Subsequently, during the same months, the petitioner paid the sums authorized by the court to itself as trustee out of the principal of the respective trusts.  The amounts so paid were not deducted by the petitioner in income tax returns filed for the taxable year, but petitioner asks in the petition, in each proceeding, for a determination of overassessment in accordance with such payments.  Although deductions for other commissions with respect to the current transactions within the taxable year for receiving and paying out income are not listed in the income tax reports filed for the two trusts, and are not mentioned in the deficiency notices, the parties are in agreement that such commissions have been allowed by the respondent.  The report made to the surrogate by petitioner showed commissions retained each year by the petitioner on account*1084  of income received and paid out, during the period covered by the report to the surrogate, the amounts being $10,663.22 as to one trust and $10,674.60 as to the other.  *31  The report filed for the period from February 26, 1926, to December 31, 1929, showed an increase of corpus in one trust of $21,635.44 and in the other of $21,580.44, and income received of $962,359.54 as to one of the trusts and $963,277.83 as to the other; charged expense against principal in the one trust in the amount of $12,806.75 and in the other of $12,798.62; charged expense against income of $29,608.74 as to the one trust and $29,815.82 as to the other, which amounts of expense in each case were entirely for payment of state and Federal taxes, except $2.50 for notary fees and $1 for cost of Federal stamps on the transfer of 250 rights in Marland Oil Co.  For 1931 the income of one estate was $126,729.09 from interest and dividends (nothing being reported under the heading "Net profit from trade or business"), with loss on sale of securities of $872.61, while as to the other estate the income was $126,460.28 from interest and dividends (nothing being reported under the heading "Net profit from trade*1085  or business"), with loss on sale of securities of $1,295.06.  The loss of $872.61 was taken upon the sale for a total price of $86,670.38 of nine items of bonds and stocks, all acquired in 1926, except two items acquired in 1928 in the total amount of $238.10.  The loss of $1,295.06 was taken upon the sale of twelve items of bonds and stocks in the total sum of $90,430.42, all of the items being purchased in 1926, except one item of $138.91 purchased in 1928.  For the year 1931 the income tax report as to the one trust asks deduction of $5.50 (in addition to taxes paid) and the other asks deduction of $6.11 (in addition to taxes paid).  The ledger of the trust for Angier B. Duke, Jr., for 1931 shows total expense items of $13.27 charged against principal, being cost of Federal stamps and cost of insurance and postage upon bonds, and $14.68 being cost of collection of coupons shown as expense against income; also $30.52 costs and disbursements taxed in the surrogate's decree of January 2, 1931.  The ledger for 1931 for the trust for Anthony Newton Duke shows expense items against principal totaling $13.03, being the cost of transfer stamps and insurance and postage on transfer of bonds; *1086  and a total of $15.71 expense against income, being cost of collection of coupons, and $1 for transfer stamps; also $30.53 costs and disbursements taxed in the surrogate's decree of January 2, 1931.  In 1931 the petitioner, as trustee of each trust, claimed deductions of about $5,200, and distributed about $6,300 to the beneficiary thereof out of the gross income, leaving in each case approximately $115,000 for distribution to the beneficiary when he should become of age.  For the taxable year the trustee reported a tax liability of approximately $13,000, all of which was paid in 1932.  The petitioner, as trustee of the trusts, at all times important, kept its books and rendered its income tax returns on the cash basis.  The provisions of the decedent's will distributed to the trustee for each of his two sons one-fourth of his residuary estate in trust to *32  collect and receive the income, revenues, and profits, and to apply and distribute them to the support, education, and maintenance of the son for his life, and after his death for the support, education and maintenance of his lineal descendants, payments, applications, and distributions during minority to be under the*1087  uncontrolled discretion of the trustee, with specific provision that: The said Trustee shall have power to hold, manage and invest, and from time to time as need be, to re-invest the properties held in said Trust for the benefit and advantage of the beneficiaries thereof in such good and productive stocks, bonds or mortgages as will produce, if possible, a sure and regular income.  The said Trustee and its successors shall have power to retain any investments made by me in my lifetime without liability for loss or shrinkage, or to change the property received by it under this will into other property as it deems best for the respective beneficiaries, and to that end it shall have power to sell, assign, transfer, exchange, deliver and convey any property at any time, and it shall invest the proceeds of all such sales and exchanges in any property it thinks best; but in all investments I charge it and its successors to be more careful as to the security of the funds than as to the acquisition of higher rates of interest, my desire being to have my property prudently and securely managed rather than hazarded in what may promise great gains.  * * * Said Trustee shall have power*1088  to pay all taxes, levies and assessments which may be validly imposed upon the Trust Estate, or any part thereof or in respect thereof, or which may be incurred in the exercise of any of the powers conferred by this will, as well as all costs, charges and expenses of administering this Trust, which shall include adequate insurance, necessary repairs, and compensation to the Trustee for its service as such.  The duties of the petitioner as trustee of the trusts consisted in general of causing its investment committee to review several times each year the securities comprising the corpus of the trusts; selling securities and reinvesting the proceeds in other stocks and bonds; collecting interest and dividends on securities; paying expenses of the trusts; distributing income to beneficiaries; keeping the books of account of the trusts; rendering statements to the interested parties; and preparing and filing income tax returns.  The petitioner was trustee of about 300 other trusts involving similar duties.  The current diary of action taken by the trustee in the estate of Anthony Newton Duke shows 18 items throughout the year 1931, while the current diary in the estate of Angier B. *1089  Duke, Jr., shows 19 items.  With one exception, the two diaries are duplicates.  The investments referred to are all bonds and stocks.  Generally trustees administering estates under the laws of New York do not make application to the court for trustee's commissions until reason exists for filing an accounting with the court.  The accounting was filed in 1930 in order to obtain the court's construction of provisions of the decedent's will.  *33  OPINION.  DISNEY: The petitioner contends and respondent denies that petitioner, as trustee, was carrying on a trade or business within the meaning of the statute.  This question has received our attention many times, and of course it depends largely upon the situation in the particular case being considered.  Petitioner urges similarity particularly to , while respondent points out especially . In the former case facts are summarized in the statement that "The estate was large and the petitioners were given wide powers of management, control, sale and reinvestment of the trust corpus", in addition to the statement*1090  that the gross income was $762,640.85, all of which, except $56,018.64, was interest on Federal and state obligations, exempt from income tax.  Question as to whether the trustees were carrying on a business under section 23(a) of the Revenue Act of 1932 apparently was not an issue in the case until raised in respondent's brief.  We held that commissions allowed by the probate court to the trustees for services performed in the management of the trust estate were expenses incurred in carrying on trade or business.  In , the trustees paid attorneys' fees and claimed deduction under section 23(a) of the Revenue Act of 1928 as ordinary and necessary expenses incurred in carrying on a trade or business.  The only facts appearing were that by the will executors were appointed with power to invest and reinvest the principal, to collect the income, to pay taxes and expenses, and to distribute to beneficiaries, but how these powers were exercised did not appear, except as to the distributions.  Taking the view that the trustees may have been mere passive conservators of an investment trust, we held that carrying on a trade or business had not*1091  been shown.  Here, the trust instrument confers powers not dissimilar to those involved in , but we think with some limitations of importance to a decision of the question at hand; for here there is distributed to the trustee for each trust one-fourth of the testator's residuary estate for purposes in effect as follows: To collect and receive the income, revenues and profits, and to pay, apply, and distribute same to and for the support, education, and maintenance of the beneficiary for life and, after his death, per capita for the support, education, and maintenance of his lineal descendants, payments, applications, and distributions during minority to be within the uncontrolled discretion of the trustee.  It is specifically provided that the trustee shall have the power "to hold, manage and invest, and from time to time as need be, to re-invest the properties held in said Trust for the benefit and advantage of the beneficiaries thereof in such good *34  and productive stocks, bonds or mortgages as will produce, if possible, a sure and regular income." Any investments made by the testator may be retained without liability for*1092  loss or shrinkage, or the trustee may change the property into other property as it deems best, with power to sell, exchange, etc., and invest the proceeds in any property it thinks best, but the testator charges the trustee "to be more careful as to the security of the funds than as to the acquisition of higher rates of interest, my desire being to have my property prudently and securely managed rather than hazarded in what may promise great gains." We conclude from the above language that investment and reinvestment, though within the discretion of the trustee, must be limited to "stocks, bonds or mortgages as will produce, if possible, a sure and regular income." In fact, the record is plain that this is what was done.  The increase reported by the trustee for the period from February 26, 1926, to December 31, 1929, differs only $55 in the two trusts (one reporting $21,635.44 and the other $21,580.44), indicating that the two trusts were handled almost exactly the same, and the same conclusion is drawn from the fact that there is less than $1,000 difference (out of approximately $963,000) in the amount of income received in the two estates during the time covered by the report*1093  and from the fact that there is a difference of only about $8 in the amount of expenses chargeable against principal out of approximately $12,800 of such expenses in each estate, while the expenses chargeable against income in the two estates varied only about $200 out of approximately $29,000 each.  It is apparent that these estates were handled by the trustee in a routine manner.  Moreover, it is stipulated that the gross income of both trusts, approximately $126,000 in the case of each, was entirely from interest and dividends for the year 1931 and the report filed by the trustee for the period from February 26, 1926, to December 31, 1929, shows that, out of $29,608.74 of expenses chargeable against income, only $1 was expense of anything other than payment of taxes, state or Federal, and $2.50 for notary fees.  One dollar was for cost of Federal and state stamps for transfer of 250 rights of Marland Oil Co.  In the other estate exactly the same situation is shown.  Out of $29,815.82 expense chargeable against income, $1 was spent for Federal stamps on the transfer of 250 rights of Marland Oil Co., $2.50 for notary fees, and the rest was expense of state or Federal taxes.  Income*1094  tax reports for 1931 ask (in addition to taxes) only $5.50 as to the one trust, and $6.11 as to the other, under the heading of deductions.  In other words, those are the amounts of expenses incurred by the two estates in those years which could possibly be classed as expense of business; while reference to the ledgers kept by the two estates reflecting income and expense throughout the year 1931 indicates only a very few dollars of expense, and nost of this for small items of a *35  few cents each for collection charges on coupons.  In the estate of Angier B. Duke, Jr., the total expense shown by the ledger for the year (except $30.52 taxed in the surrogate's decree) is $27.95, all of which is shown to be the cost of Federal stamps, mailing bonds, and collection of coupons.  The same is true in the trust for Anthony Newton Duke, where we find (except for $30.53 taxed in the surrogate's decree) a total of $28.74, all of which consists of small items of Federal stamps, cost of mailing bonds and coupon collection charges.  Moreover, as above seen, the report of the trustees for the period from February 26, 1926, to December 31, 1929, demonstrates only one transaction in each estate*1095  - the transfer of 250 rights in Marland Oil Co., and the report for 1931 for one trust shows an income of $126,729.09, and a loss on sale of securities of $872.61 from nine sales of securities, seven of which were purchased in 1926, and two in 1928, with a total sale price of $86,670.38; while the other trust reports an income of $126,460.28, and a loss of $1,295.06 from sale of twelve securities, all but one purchased in 1926, the other in 1928, with a total sale price of $90,430.42.  Plainly, securities were being held, not dealt in.  The above facts demonstrate conclusively to us that this is a case of passive investment and not of carrying on a business, for not only is the trustee limited in its investments, but it is cautioned in effect to be a safe investor rather than a participant in trade or business, and, plainly carrying out the testator's injunctions, it conducts no business, because it has, as above seen, no expenses of conducting business other than the collection of coupons and mailing bonds, amounting to a few dollars, and an even more negligible amount for transfer stamps or notary fees.  In *1096 , there was no evidence to convince us of business done or trade carried on; here the evidence is pointed and positive that, practically speaking, the only activity of the trust was to watch investments and collect coupons.  In , the trustees had "wide powers" of management and investment as contrasted with the narrow powers herein, and the present question apparently arose only when brief was filed by respondent.  We do not think that case decisive of the issue which arises from the evidence herein.  Extensive authority need not be compiled to demonstrate that a mere passive investor, collecting interest and clipping coupons, and making a very few reinvestments, is not engaged in trade or business.  ; . That situation here affirmatively appears, as well as the limitations indicated by the trustor, amounting to a direction to trustee to be passive investor rather than to engage in trade or business.  In *1097 , trustees under a testamentary trust had power to rent, lease, sell, or convey real estate, *36  to invest and keep invested the proceeds of the property, to change investments, and to manage and control the trust estate and exercise all powers necessary to that end.  The income received during one of the taxable years was derived from 75 capital transactions, 71 of which consisted in receiving money paid for redemption of bonds at maturity, and the other 4 comprising sales of 1 lot of stock, 2 mortgages and a parcel of land.  Whenever property was acquired it was taken as an investment, never for the speculative purpose of deriving profit from a sale thereof later on.  We commented that, with certain exceptions, the net income of a trust shall be computed in the same manner as that of an individual and that petitioner was not engaged in buying and selling real estate and securities with a view to profit on the transaction, that out of 75 capital transactions only 4 were other than reception of money to redeem bonds at maturity, and that they were occasional, isolated transactions, not a business regularly carried on. *1098  We further noted that the language employed by the testatrix to safeguard the trusteed property clearly indicated that the purpose was to conserve the estate corpus and to protect it from the hazards of active business enterprise.  "The whole tenor of the instrument distinctly negatives any idea that the estate should regularly carry on a business for profit, and the evidence shows, we think, that none was carried on." We therefore concluded and held that net loss deductions were properly disallowed.  The very few transactions shown by the record in the instant proceeding are of the same nature as those considered in the cited proceeding and our comment upon the language of the testatrix indicating a purpose to conserve the estate, rather than carry on a business for profit, can be precisely applied to the settlor's language in the trusts here at hand.  We therefore hold that the trustee in the case of each trust here involved was not carrying on any trade or business, and that the expenses, viz., trustee's commissions paid from principal, sought to be deducted as ordinary and necessary expense of carrying on trade or business under section 23(a) of the Revenue Act of 1928, were*1099  properly denied by the respondent.  This conclusion makes it unnecessary to pass upon the other question presented as to whether the fact that the commissions in question were charged to corpus of the trust, under the surrogate's order, prevents their classification as business expense.  Reviewed by the Board.  Decision will be entered under Rule 50.VAN FOSSAN and ARNOLD dissent.  MELLOTT*37 MELLOTT, concurring: Although agreeing with the majority, that the petitioners were not engaged in a trade or business, I am of the opinion that, even if they were, the particular commissions in issue are not deductible.  They were paid by the petitioners to themselves in 1931 out of trust corpus, and apparently were never considered by them as deductible items until after substantial deficiencies had been determined against them, the correctness of which they now concede.  They had been allowed under section 285 of the Surrogate's Court Act of New York on the basis of principal received and paid out.  They were nonrecurring items, chargeable to and deductible from corpus.  If application had been made by them to the Surrogate's Court in 1926, when the corpus*1100  was paid over to them, they would have been entitled to have received at least 50 percent of the commissions at that time; In Re Bushe,227 N.Y. 85, for, under the construction by the New York courts of the section under which the allowances were made, they became entitled to that portion of the allowances immediately upon receipt of the property.  In my opinion the commissions in controversy could not be said to be "ordinary and necessary expenses paid * * * in carrying on any trade or business" even if the petitioners were engaged in a trade or business.  SMITH, TURNER, and HARRON concur in the above.  LEECHLEECH, dissenting: The respondent admittedly allowed deductions of commissions, similar to those now contested, in his determination of the present deficiencies.  He asks for no increased deficiencies because of error in that action.  But if that was right, it would seem so, only, if the petitioning bank, as trustee of each of the two trusts, was carrying on business during the taxable year.  However, respondent disallows the deduction of similar additional commissions which are now in controversy, because, he says, the bank, as such trustee, *1101  was not carrying on business.  In my judgment, his position is wholly inconsistent.  Either the petitioning bank, as trustee for these trusts, was carrying on business during the taxable year, or it was not.  If it was, not only those commissions, the deduction of which was allowed by the respondent, are deductible, but the contested additional commissions are likewise deductible.  I think the bank, as such trustee, was more than a passive conservator of investments and was carrying on business during the taxable year.  The record, to me, clearly establishes that fact.  In my opinion, the additional commissions, now in dispute, are deductible as well as those the deduction of which respondent has allowed and is not now contesting.  ARUNDELL and TYSON agree with this dissent.  